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        DECLARATION OF
         ALYSSA OLSON
       ISO GOOGLE LLC’S
         OPPOSITION TO
           PLAINTIFFS’
         MOTION FOR AN
            ORDER OF
         SANCTIONS FOR
            GOOGLE’S
           DISCOVERY
          MISCONDUCT

        Redacted Version
      of Document Sought
          to be Sealed
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16 Counsel for Defendant Google LLC

17                               UNITED STATES DISTRICT COURT
18                NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
19
      PATRICK CALHOUN, et al., on behalf of           Case No. 4:20-cv-05146-YGR-SVK
20    themselves and all others similarly situated,
                                                      DECLARATION OF ALYSSA G. OLSON
21
             Plaintiffs,                              IN SUPPORT OF GOOGLE LLC’S
22                                                    OPPOSITION    TO   PLAINTIFFS’
             v.                                       MOTION FOR AN ORDER OF
23                                                    SANCTIONS    FOR     GOOGLE’S
      GOOGLE LLC,                                     DISCOVERY MISCONDUCT
24

25           Defendant.                               The Honorable Susan van Keulen
                                                      Date: August 11, 2022
26                                                    Time: 9:30 a.m.

27
                                                      Trial Date: None Set
28

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 1          I, Alyssa G. Olson, declare as follows:

 2          1.     I am a member of the bar of the State of California and an associate with Quinn

 3 Emanuel Urquhart & Sullivan, LLP, attorneys for Defendant Google LLC (“Google”) in this action.

 4 I submit this declaration in support of Google’s Opposition to Plaintiffs’ Motion For An Order Of

 5 Sanctions For Google’s Discovery Misconduct. I make this declaration of my own personal,

 6 firsthand knowledge, and if called and sworn as a witness, I could and would testify competently

 7 thereto.

 8          Discovery of Signals in Sync Traffic Logs:

 9          2.     From April 15, 2021 through May 31, 2021, Google produced more than one hundred

10 documents discussing the “         ” signal. Attached hereto as Exhibit 1 is a true and correct copy

11 of one such document produced by Google on April 15, 2021, bearing the Bates label GOOG-

12 CALH-00028133.

13          3.     Google produced documents discussing                          on July 30, 2021 and

14 December 17, 2021. Attached hereto as Exhibit 2 is a true and correct copy of a document produced

15 by Google on July 30, 2021, bearing the Bates label GOOG-CALH-00201175. Attached hereto as

16 Exhibit 3 is a true and correct copy of a document produced by Google on December 17, 2021,

17 bearing the Bates label GOOG-CALH-00850593.

18          4.     Attached hereto as Exhibit 4 is a true and correct copy of Google’s Responses and

19 Objections to Plaintiffs’ First Set of Requests for Admission (Nos. 1-45), served by Google, on

20 October 12, 2021.

21          5.     Attached hereto as Exhibit 5 is a true and correct copy of Google's Responses and

22 Objections to Plaintiffs’ Fifth Set of Interrogatories (No. 21-24), served by Google on January 31,

23 2022.

24

25          6.     Google first produced documents referencing                     on April 26, 2021.

26 Attached hereto as Exhibit 6 is a true and correct copy of one such document produced by Google

27 on April 26, 2021, bearing the Bates label GOOG-CALH-00035438.

28

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 1            7.     Attached hereto as Exhibit 7 is a true and correct copy of a document produced by

 2 Google on September 24, 2021, bearing Bates number GOOG-CABR-03674612, which describes

 3 the “[g]reat interview with Rahul [Roy-Chowdhury] today.”

 4            8.     Attached hereto as Exhibit 8 is a true and correct copy of a document produced by

 5 Google on October 5, 2021, bearing Bates number GOOG-CABR-04342734. This document is

 6 titled “                 Stakeholder Interview Summary,” and includes “a summary of themes and

 7 key quotes from the stakeholder interviews that informed our Perspective document.” Ex. 8 at -734.

 8 It also lists the nine interviewees from the “first round” of interviews, including Rahul Roy-

 9 Chowdhury, Keith Enright, Yooki Park, Sarah Hammond, Other Hansson, Micah Laaker, Josh

10 Stickler, Bresonna Rodriguez, and Bryan Horling. Id. at -734-35. Plaintiffs’ Motion quotes primarily

11 from the interviews of Rahul Roy-Chowdhury and Other Hansson.

12            9.     Attached hereto as Exhibit 9 is a true and correct copy of a document produced by

13 Google on October 26, 2021, bearing Bates number GOOG-CABR-04833494. This document is

14 titled “Notes from interview with Rahul [Roy-Chowdhury]” and contains notes from the same

15 interview as the notes in Plaintiffs’ Exhibit 11 (i.e. notes from the August 5, 2020 stakeholder

16 interview of Rahul Roy-Chowdhury). Plaintiffs’ Exhibit 11 states that there are “additional and

17 better notes from [Mimosa Lynch].” Pls.’ Ex. 11 at -931. The word “notes” is hyperlinked, and leads

18 to Exhibit 9.

19            10.    Attached hereto as Exhibit 10 is a true and correct copy of a document produced by
20 Google on October 26, 2021, bearing Bates number GOOG-CABR-04754257. This document is

21 titled “                Perspective readout,” and identifies the names of the first nine interviewees.
22 Id. at -282. Plaintiffs asked Mr. Heft-Luthy about this page of the presentation at his deposition. Ex.

23 16 at 88:21-93:11.

24            11.    Attached hereto as Exhibit 11 is a true and correct copy of a document produced by
25 Google on October 26, 2021, bearing Bates number GOOG-CABR-04780646, which notes that the

26 “[f]irst stakeholder interviews” were “[c]ompleted this week” and the “[g]oals for next week”

27 includes “[f]urther stakeholder interviews.” Id. at -650.

28

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 1            12.      Attached hereto as Exhibit 12 is a true and correct copy of a document produced by

 2 Google on November 16, 2021, bearing Bates number GOOG-CABR-05243994. This document is

 3 titled “                    Meeting Notes,” and includes a hyperlink to the “Stakeholder Interview

 4 Notes,” id. at -994, and references the stakeholder interviews on numerous occasions, id. at -013, -

 5 019, -020, -021, -026, -032, -033, -043, -046. The document also discusses some interviewees by

 6 name:

 7                  a. August 3, 2020 notes discussing “the interview with Troy [Stram]” (-036)

 8                  b. August 4, 2020 notes discussing topics to discuss “tomorrow when we interview

 9                     Rahul [Roy-Chowdhury]” (-033)

10                  c. August 25, 2020 notes discussing the “[t]hree interviews this week” with “Al

11                     [Verney],” “David [Monsees],” and “Cassidy [Morgan]” (-024).

12                  d. August 27, 2020 notes discussing what “Cassidy [Morgan] has mentioned during the

13                     interview” (-021)

14                  e. September 15, 2020 notes discussing the “interview with [Jonathan] McPhie” (-016)

15            13.      Attached hereto as Exhibit 13 is a true and correct copy of a document produced by

16 Google on November 16, 2021, bearing Bates number GOOG-CABR-05157097, which reports that

17 “[f]urther stakeholder interviews” were “[c]ompleted this week” and links to the interview notes

18 (Plaintiffs’ Exhibit 11) at “go/                -conversations.” Id. at -102.

19            14.      Attached hereto as Exhibit 14 is a true and correct copy of a document produced by

20 Google on November 16, 2021, bearing Bates number GOOG-CABR-05153724. This document is

21 a spreadsheet containing the “Detailed Plan” for                   , including a list of the “Stakeholder
22 Interviews” and the status of those interviews. The list included, among others, Sarah Hammond,

23 Othar Hansson, Stephan Micklitz, Rahul Roy-Chowdhury, Keith Enright, Micah Laaker, Cassidy

24 Morgan, Kate Charlet, Troy Sauro, Breonna Rodriquez, Mark Risher, Guemmy Kim, Bryan

25 Horling, David Monsees, Josh Stickler, Al Verney, Ian Alexander, Giles Hogben, and Priscilla

26 Penha. This list included 19 of the 25 interviewees whose interviews were documented in Plaintiffs’

27 Exhibit 11.

28

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 1          15.    Attached hereto as Exhibit 15 is a true and correct copy of a document produced by

 2 Google on November 16, 2021, bearing Bates number GOOG-CABR-05154805, titled “

 3         Workbench.”

 4          16.    By November 30, 2021, Google had produced approximately 265 documents that

 5 referenced                 , including more than 30 that explicitly referenced the stakeholder

 6 interviews.

 7          17.    On December 20, 2021, Plaintiffs took the deposition of Sam Heft-Luthy, where they

 8 asked him about the stakeholder interviews and Mr. Heft-Luthy testified there were written notes of

 9 those interviews. Attached hereto as Exhibit 16 is a true and correct copy of excerpts from the

10 transcript of the December 20, 2021 deposition of Sam Heft-Luthy.

11          18.    Plaintiffs did not request the interview notes at Mr. Heft-Luthy’s deposition.

12          19.    On December 30, 2021, months after Plaintiffs’ first search term proposal, Plaintiffs

13 requested “                ” and “                  ” be added as search terms. Attached hereto as

14 Exhibit 17 is a true and correct copy of Plaintiffs’ December 30, 2021 correspondence.

15          20.    On December 31, 2021, Google agreed to run both search terms. Attached hereto as

16 Exhibit 18 is a true and correct copy of Google’s December 31, 2021 correspondence.

17          21.    Plaintiffs did not request an extension to file their opposition to Google’s motion for

18 summary judgment (“MSJ Opposition”), which was due on January 10, 2022, to review and

19 incorporate documents Google would produce hitting on these newly added search terms.

20          22.    On January 6, 2022, Plaintiffs deposed Greg Fair, who served as Google’s declarant

21 concerning the factual bases of Google’s motion for summary judgment on consent, and was the

22 custodian for nearly a quarter of the already produced                    documents. I attended that

23 deposition. Plaintiffs did not ask Mr. Fair questions about                  or the related interviews.

24 Plaintiffs questioned Mr. Fair on such topics as the Universal Declaration of Human Rights, the

25 complaint, and certain hypotheticals about data flow.

26          23.    On January 10, 2022, Plaintiffs filed their opposition to Google’s motion for

27 summary judgment. By that date, Google had produced an additional 82 documents that contained

28 the terms “                 or “                ”

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 1            24.    Of the 347 documents produced prior to Plaintiffs filing the MSJ opposition, Sam

 2 Heft-Luthy was a custodian of approximately half, Greg Fair was the custodian of approximately a

 3 quarter, and 19 other custodians made up the rest, including four of the interviewees: David Monsees

 4 (26 documents), Emil Ochotta (13 documents), Othar Hansson (8 documents), and Rahul Roy-

 5 Chowdhury (1 document).

 6            25.    Between January 11, 2022 and March 4, 2022 (the close of fact discovery), Google

 7 produced another 530 documents regarding                     508 of which were produced by the end

 8 of January.

 9            26.    Attached hereto as Exhibit 19 is a true and correct copy of a document produced by

10 Google on January 21, 2022, bearing Bates number GOOG-CABR-05742155, titled “Privacy

11 Experience Vignettes: Draft Agency Brief.”

12            27.    Attached hereto as Exhibit 20 is a true and correct copy of an email produced by

13 Google on January 21, 2022, bearing Bates number GOOG-CABR-05753834, with the subject

14 “                  project intro.”

15            28.    These productions also included meeting invitations for                  stakeholder

16 interviews.

17            29.    Attached hereto as Exhibit 21 is a true and correct copy of a document produced by

18 Google on January 21, 2022, bearing Bates number GOOG-CABR-05753851, which is an invitation

19 for a “                 Sync” with Kate Charlet scheduled for July 31, 2020.

20            30.    Attached hereto as Exhibit 22 is a true and correct copy of a document produced by

21 Google on January 21, 2022, bearing Bates number GOOG-CABR-05753839, which is an invitation

22 for a “                 Chat” with Breonna Rodriguez-Delgrosso scheduled for August 3, 2020.

23            31.    Attached hereto as Exhibit 23 is a true and correct copy of a document produced by

24 Google on January 21, 2022, bearing Bates number GOOG-CABR-05753832, which is an invitation

25 for a “[                  Stakeholder Interview” with Micah Laaker scheduled for August 5, 2020.

26            32.    Attached hereto as Exhibit 24 is a true and correct copy of a document produced by

27 Google on January 21, 2022, bearing Bates number GOOG-CABR-05753875, which is an invitation

28 for a “[                  Interview” with Ian Alexander scheduled for August 12, 2020.

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 1            33.    Attached hereto as Exhibit 25 is a true and correct copy of a document produced by

 2 Google on January 21, 2022, bearing Bates number GOOG-CABR-05753874, which is an invitation

 3 for a “                 ]...Sync” with Yooki Park scheduled for August 12, 2020.

 4            34.    Attached hereto as Exhibit 26 is a true and correct copy of a document produced by

 5 Google on January 21, 2022, bearing Bates number GOOG-CABR-05753847, which is an invitation

 6 for a “Stakeholder Interview” with Keith Enright scheduled for August 17, 2020.

 7            35.    Attached hereto as Exhibit 27 is a true and correct copy of a document produced by

 8 Google on January 21, 2022, bearing Bates number GOOG-CABR-05753881, which is an invitation

 9 to “discuss                   with Priscila Penha scheduled for August 19, 2020.

10            36.    Attached hereto as Exhibit 28 is a true and correct copy of a document produced by

11 Google on January 21, 2022, bearing Bates number GOOG-CABR-05753889, which is an invitation

12 for a “[                ]...Stakeholder Interview” with Al Verney scheduled for August 25, 2020.

13            37.    Attached hereto as Exhibit 29 is a true and correct copy of a document produced by

14 Google on January 21, 2022, bearing Bates number GOOG-CABR-05747697, which is an invitation

15 for a “[                  Stakeholder Interview request” with David Monsees scheduled for August

16 26, 2020.

17            38.    Attached hereto as Exhibit 30 is a true and correct copy of a document produced by

18 Google on January 21, 2022, bearing Bates number GOOG-CABR-05747710, which is an invitation

19 for a “[                 ]...Stakeholder Interview” with David Monsees scheduled for August 31,

20 2020.

21            39.    Attached hereto as Exhibit 31 is a true and correct copy of a document produced by

22 Google on January 21, 2022, bearing Bates number GOOG-CABR-05753915, which is an invitation

23 for a “[                 Stakeholder Interview” with Giles Hogben scheduled for September 1, 2020.

24            40.    Attached hereto as Exhibit 32 is a true and correct copy of a document produced by

25 Google on January 21, 2022, bearing Bates number GOOG-CABR-05753967, which is an invitation

26 for a “chat re:                  with Jonathan McPhie scheduled for September 16, 2020.

27            41.    Attached hereto as Exhibit 33 is a true and correct copy of a document produced by

28 Google on January 21 2022, bearing Bates number GOOG-CABR-05754210, which is an invitation

                                                   -6-               Case No. 4:20-cv-05146-YGR-SVK
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 1          46.    Plaintiffs did not seek to supplement their briefing with any of the additional

 2 documents produced.

 3          47.    On January 18, 2022, Plaintiffs sent a letter requesting “all transcripts, notes, and

 4 emails regarding interviews taken for                  and all documents, research and ‘inputs’ that

 5 pertain to                  Attached hereto as Exhibit 37 is a true and correct copy of Plaintiffs’

 6 January 18, 2022 correspondence.

 7          48.    In response to this request, Google identified 24 additional documents that had not

 8 yet been produced, and subsequently produced these documents on April 5 and 6, 2022 after

 9 conducting a privilege review since a number of them had previously been identified as containing

10 attorney-client information.

11          49.    These documents were produced in advance of Plaintiff’s Rule 30(b)(6) deposition

12 on                  Attached hereto as Exhibit 38 is a true and correct copy of excerpts from the

13 transcript of the April 12, 2022 Rule 30(b)(6) deposition of Google’s corporate designee Mediha

14 Abdulhay.

15          50.    Plaintiffs address three documents produced in April 2022 in their brief.

16          Joint Declaration Paragraph 62

17          51.    The Joint Declaration Paragraph 62 describes “[t]he ‘final’ paper from the

18 PDPO…titled ‘                      Perspective: Toward a                      Google experience.’”

19 Although Plaintiffs did not include a Bates number, or attach the document as an exhibit, Google

20 believes the referenced document is GOOG-CABR-05885987. Attached hereto as Exhibit 39 is a

21 true and correct copy of a document produced by Google on April 6, 2022, bearing the Bates number

22 GOOG-CABR-05885987.

23          52.     This document was initially withheld as privileged and included as Entry 533 on

24 Google’s Privilege Log 001, served on October 8, 2021, because one of the reviewers was Senior

25 Privacy Counsel at Google. After Plaintiffs requested additional                      documents on

26 January 18, 2022, and in preparation for Google’s Rule 30(b)(6) deposition on

27 Google re-reviewed this document and produced it without redactions.

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 1          I declare under penalty of perjury of the laws of the United States that the foregoing is true

 2 and correct. Executed in Culver City, California on July 1, 2022.

 3

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 5
                                                  By          /s/ Alyssa G. Olson
 6                                                     Alyssa G. Olson

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